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Exhibit

a

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

_ SOUTHERN DIVISION
UNITED STATES OF AMERICA )
)
Vv. )
)
KARL WALTER STOLZE )
PLEA AGREEMENT
Karl Walter Stolze; the Defendant, and his attorney, Arthur D. Carlisle, have been notified
that:
1. Defendants Obligations

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging his with the felony crime of Conspiracy to Deprive Rights
Under Color of Law, in violation of 18 U.S.C..§ 241, and if he fully cooperates with federal and state
law enforcement, as well as, the Criminal Section of the United States Department of Justice, Civil
Rights Division and the United States Attorney for the Southern District of Mississippi

(“Government”) and with the District Attorney for the Second Circuit Court District of Mississippi
(“District Attormey”), as set out in paragraphs 9 and 10.

2. Government’s Obligations

a) Thereafter, the Government will recommend that the Court: @ accept the -

Defendant’s plea of guilty; (i) recommend that the Court impose a sentence within
the lower 50% of the applicable Sentencing Guidelines range as computed by the

~ Court; “and” (iy inform the United States: Probation Officé and thé Court of this™

Agreement, the nature and extent of Defendant's activities with respect to this case
and all other activities of Defendant which the Government deems televant to

sentencing, including the nature and extent of Defendant's coopetation with the
Govetnment.

b) Following the acceptance of the Defendant’s plea of guilty, the Government will
dismiss Defendant Stolze from the Superseding Indictment in criminal case number
1:06cr79 currently pending before this Coutt.

c) The Defendant.has timely notified the Government of his intent to enter a plea of
guilty. If the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1(a), and if the
Defendant’s offense level determined prior to the operation of U.S.S.G. § 3E1.1(a) is
a level 16 ot greater, the Government will move for an additional one-level decrease
in the guidelines in accordance with U.S.S.G. § 3E1.1(b).

d) Should the Government determine that Defendant has provided substantial
assistance to'law enforcement officials in an investigation ot prosecution, and has
fully complied with the understandings specified in this Agreement, then the

Government may submit a motion putsuant to United States Sentencing Guidelines

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(‘USS.G”) § 5K1.1 @nd Title 18, United States Code, Section 3553(e), if
applicable), requesting that the Court sentence Defendant in light of the factors set ©
forth in U.S.S.G. § 5K1.1(@)(1)-(5). The determination as to whether Defendant has
provided such substantial assistance shall rest solely with the Government. Should
any investigation in which Defendant offers information be incomplete at the time
of his sentencing, the Government may, in lieu of a downward departure at
sentencing, move for a reduction in sentence pursuant to Rule 35 of the Federal
Rules of Criminal Procedure at such time-as the cooperation is complete. It is
understood that, even if such a motion is filed,.the sentence to be imposed on
Defendant remains within the sole discretion of the Coutt.

3. Count of Conviction ‘
It is undetstood that, as of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desires to plead guilty to Count One of the Information.

4. — Sentence

The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, chatging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to exceed ten (10) years; a term of supervised release of not less than three (3)
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised
telease will be imposed and that the tetm will be in ‘addition to any prison sentence he receives;
further, if any of the tetms of supervised release ate violated, the Defendant can be returned to
ptison for the entire term of supervised release, without credit for any time already served on the
term of supervised release prior to the Defendant’s violation of those conditions. It is further
understood that the Court may require the Defendant to pay restitution in this matter in accordance
with applicable law. The Defendant further understands that he is lable to make restitution for the

full amount of the loss determined by the Court to constitute relevant conduct, which is not limited
to the count of conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
facts that establish his guilt beyond a reasonable doubt:

Karl Walter Stolze a Hattison County Sheriffs Department Cortections Officer who worked
the Harrison County Adult Detention Center (“Jail”). Stolze worked at the Jail from on or about
August 1, 2003 to September 28, 2006. Stolze worked in the Jail’s Booking area from on or about
December 2003 through September 28, 2006. While assigned to the Booking = area, Stolze was undez
the supervision of Captain James Ricky Gaston.

While he was employed at the Jail and acting under color of law, Stolze conspired with other
employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates at the
Jail by willfully using excessive and unnecessary physical force against those inmates. The

conspiracy began on a date uncertain before December 2003, and continued through at least January
28, 2006.

Stolze and his co-conspirators engaged in a pattern of conduct that included, but was not
limited to, Stolze and other officers assaulting inmates, knowing that the physical force was
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unnecessaty, unreasonable, and unjustified. During the conspiracy, Stolze patticipated in several
assaults against inmates.

Stozle observed co-conspirators and other corrections officers participate in numerous
additional assaults against inmates at ‘the Jail. Stolze also heard co-conspirators and other
cottections officers boasting about their participation in willful and intentional uses of excessive
force.

In addition, Stolze conspired with other officers to conceal these instances of physical abuse
of inmates. Stolze, co-conspirators, and other cortections officers attempted to, and did in fact,
conceal theit abusive conduct by failing to document theit excessive uses of force, and by giving
false statements and writing false, vague, and misleading reports.

The information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does
not contain every fact known to the Defendant and to the Government coricerning the Defendant’s
and/or other’s involvement in the offense conduct and other mattets.

6. Forteitures
None.

7. This Plea Agreement does NOT Bind the Court

It is further understood that the Court, in accord with the principles of Rules 11(c)(1)@) of
the Federal Rules of Criminal Procedure, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has no other obligation in regard to sentencing than as stated in
paragraph 2. °

3. Determination of Sentencing Guidelines

It is further understood that. the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the approptiate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines if the Court finds that another
sentence would be mote appropriate. The Defendant acknowledges that he is not telying upon
anyone’s calculation of a patticulat Guidelines range for the offense to which he is entering his plea,
and recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

9, - Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the
consideration for the action taken by the Government herein is the Defendant's representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will.carry out the
terms and conditions contained herein.

10. ‘Terms of Cooperation

Tt is further understood that full cooperation referred to in patagraph 1 includes:
a) immediate and truthful disclosure of all matters involved in this charge to the
apptopriate federal and state agents;

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b) truthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government,

c) truthful testimony at any trial involving any matter atising from these charges, in
federal or state coutt; .

d) truthful testimony before any Grand Jury or at any trial in this or any other district

on any matter about which the Defendant has knowledge and which is deemed
pertinent to the Government,

‘¢) ~~ full and truthful cooperation with the Government, with any law enforcement
agency designated by the Government, and/or the District Attorney’s office; ,
f) attendance at all meetings at which the U.S. Attorney or the Disttict Attorney
requests his presence;
g) provision to the Government, upon tequest, of any document, record, ot othet

tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and
h) an obligation on the patt of the Defendant to commit no further crimes whatsoever.

11. Limits on Further Prosecution

Tt is further understood that the Government and the District Attorney will seek no further
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of
this Agreement, arising out of any event covered by the Information referenced in paragraph 1, if
the Defendant voluntarily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to »
that matter, the Government and/or the District. Attorney is free. to seek prosecution of the

‘Defendant. This Plea Agreement does not provide any protection against prosecution for any —

ctimes except as set forth above.

12. Breach of this Agreement.
It is further understood that should the Defendant fail or refuse as to any part of this Plea

Agreement or commit any other ctimes, the representations by the United States or the District
Attorney in patagraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be
considered sufficient grounds for the putsuit of any prosecutions that the Government or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions
that might have been dismissed or otherwise barred by the Double Jeopardy Clause. ~

If the Defendant fails to fulfill his obligations under this Plea Agreement, the United States -
may seek release from any ot all obligations wndet this Plea Agreement. If the Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

. United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of

the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant's statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed of ate
inadmissible. Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the patties, shall be determined by the Court in an approptiate proceeding at which the
Defendant’s disclosures and documentary evidence shall be admissible and at which the United

States shall be tequited to establish a breach of the Plea Agreement by a preponderance of the
evidence. .
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13, Binding Effect on this Federal District or Upon the District Attorney
It is further understood that thig Plea Agreement does not bind any other state or local

prosecuting authotities or any other federal district, except as otherwise provided herein; further,
this Plea Agreement does not bind the Attorney General of the United States in regatd to any
matter, civil or criminal, involving the tax statutes of the United States.

14, Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and thete pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to
the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof of
payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first. from any funds available to the Defendant while he is
incarcerated. The Deferidaiit understands and agtees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties ate imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermote, the
Defendant agtees to provide all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtor’s exantiiation. If the Coutt
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only method, nor a limitation upon the methods,
available to the United States to enfotce the judgment. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments.

i. Further Crimes .

Tt is further understood that should the Defendant commit any furtier crimes, this Plea
Agreement shall be deemed violated and he shall be subject to prosecution fot any federal or state
ctiminal violation of which the Government has knowledge, and that any information provided by
bim may bé used against him.

16. Waivers

The Defendant, knowing and understanding all of the matters afoxesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent, to
a ttial by juty, to subpoena witnesses on his own behalf, to confront any witnesses against him, and
to appeal his conviction and sentence, in exchange fot the recommendations and concessions made
by the Government or the District Attorney in this Plea Agreement, hereby expressly waives the
above tights and the following:

a. The right to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on any ground, provided the sentence does not exceed the
maximum sentence allowed by the statute; and

b. The tight to contest the conviction and sentence or the manner in which the .

sentence was imposed in any post-conviction proceeding, including but not limited
to a motion brought under Title 28, United States Code, § 2255, and any type of

e
2
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proceeding claiming to double jeopardy ot excessive penalty as a result of any
forfeiture ordered or to be ordered in this case; and. : :

c. Any right to seek attorney’s fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations,
ot undertaken in bad faith; and

d. All sights, whether-asserted directly or through a tepresentative, to request or receive -
any department or agency of the United States any records pertaining to the
investigation ot prosecution of this case, including without limitation any. records
that may be sought by him ot his representattve under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at
Title 5, United States Code, § 552a.

e. The Defendant further acknowledges and agtees that any factual issues regarding his

sentencing will be resolved by the sentencing judge under a preponderance of the

-. evidence standard, and the Defendant waives any tight to a jury determination of

these sentencing issues. The Defendant further agrees that, in making its sentencing

decision, the District Court may consider any relevant evidence without tegatd to its
admissibility under the Rules of Evidence applicable at trial..

The Defendant waives these tights in exchange for the recommendation and

concessions made by the Government and the District Attorney in this Plea
Agreement.

17, Future.Contact with the Defendant oo ~
The Defendant and his attorney acknowledge that if forfeiture, restitution, a-fine, or special

" assesstnent, ot any combination of these is ordered in the Defendant’s case, that this will tequire

regular contact with the Defendant during any petiod of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to.
confirm in writing whether defense counsel will continue to tepresent the Defendant in this case and
in mattets involving the collection of the financial obligations imposed by the Court. If the
Government does not teceive any written acknowledgment from defense counsel within two weeks
of entty of judgment in this case, the Government will presume that defense counsel no longet
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant iegarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shall not be
deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the

Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

18. Complete Agreement
It is further understood that this Plea Agreement completely teflects all promises,

agreements, and conditions made by and among the Government, the District Attorney, and the
Defendant. .
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The Defendant and his Attorney declare that the terms of this Plea Agreement have been:

READ TO OR BY HIM;

EXPLAINED TO HIM BY HIS ATTORNEY;
UNDERSTOOD BY HIM;

VOLUNTARILY ACCEPTED BY HIM; and
AGREED TO AND ACCEPTED BY HIM.

PONE

WITNESS OUR SIGNATURES, as set forth below on July 31}, 2007.

FOR THE GOVERNMENT: ‘FOR THE DEFENDA rT
ee acgsorbics. LLL Ll Fepl-O?
Dyhn Lamptor J Date | Walter Sepa Date

United States Attorney Defendant
by: Jobin Meynardes. :
Nestene United States Attorney

ees ef cot Td li— B-3|-0%

Lisa M. Krigsten Date / Asthut D. Casi, Esq. Date
Counsel Sena ttorney General Attormey ‘gt efendant
on Rights Division ~

KG? Donon

John Cotton Richmond _ “Date
Trial Attorney
Civil Rights Division, Criminal Section

Ro Bhaay

Cono Caranna Date
District Attorney:

Second Circuit Court District
Case 1:08-cv-00090-LG-RHW Document 211-7 Filed 12/14/09 Page 9 of 21
Case 1:07-cr-00092-LG-RHW Document 7 Filed 11/09/2007 Page 1 of6

@AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

SOUTHERN District of MISSISSIPPI
UNITED STATES OF AMERICA _ JUDGMENT IN A CRIMINAL CASE
V. .
Karl W. Stolze . Case Number: 08317-043
USM Number: 1:07cr92LG-RHW-001
Arthur Carlisle

Defendant's Attorney

THE DEFENDANT:
m pleaded guilty to connt(s) _1

[1 pleaded nolo contendere to count(s)

which was accepted by the court.

(1 was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section . Nature of Offense Offense Ended . Count
18 U.S.C, 241 Conspiracy against rights 8/1/2007 i
fy
Ld
The defendant is sentenced as provided in pages 2 through 6 ___- of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
{] The defendant has been found not guilty on count(s)

[) Count(s) Cl is [1 are dismissed on the motion of the United States.

_, Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economuc circumstances.

11/5/2007

Date of Imposition of Judgment
iy / Louis Buirola, In.

Signature of Judge

Lonis Guirola, Ir TLS District Tndee
Name and Title of Judge

11/7/2007

1 Date

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AO 245B (Rev. 06/05) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 6

DEFENDANT: Karl W. Stolze
ae ASE NUMBER: 1:07cr92LG-RHW-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

15 months as to Count 1

[}The court makes the following recommendations to the Bureau of Prisons:

[I The defendant is remanded to the custody of the United States Marshal.

[IThe defendant shall surrender to the United States Marshal for this district:

Cl at 2:00 - Oam 8 pm on

[] as notified by the United States Marshal.
OR
“"\ i The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons or, if not yet designated,

ww the Upited Se Be on _January 14,2008

C1 as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

RETURN
: [have executed this judgment as follows:
Defendant delivered on to -
at , with a certified. copy of this judgment.
UNITED STATES MARSHAL
} By

a DEPUTY UNITED STATES MARSHAL
Case 1:08-cv-00090-LG-RHW Document 211-7 Filed 12/14/09 Page 11 of 21
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of 6

DEFENDANT: Karl W. Stolze

— poe NUMBER: 1i07c#92LG-RHW-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

two years as to Count 1

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance. The defendarit shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detérminéd by the court.

(1 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.) ,

M ‘The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

M - The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

Ei The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

(1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
poanle of Payments sheet of this judgment. ”

' “The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) ~~ ‘the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
_ 4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a

felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
_ permission of the court; and .

£3) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement. .
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AQ24SB ror. PASE nd Or SI N008 P-L G-RHW Document 7 Filed 11/09/2007 Page 4of6

Sheet 3C — Supervised Release
oO me Judgment—Page 4 of 6
DEFENDANT: Karl W. Stolze
CASE NUMBER: 4:07er92L_G-RHW-O001
() SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide the probation officer with access to any requested financial information.

2. The defendant shall participate in a program of testing and/or treatment for drug abuse, as directed by the probation
officer, until such time as the defendant is released from the program by the probation officer. The defendant shall contribute
to the cost of such treatment to the extent that the defendant is deemed capable by the probation officer.
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DEFENDANT: Karl W. Stolze.

Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5 of 6

CASE NUMBER: 1:07cr92LG-RHW-001

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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution

TOTALS $ 100.00 $ $

Ll The determination of restitution is deferred until "| An Amended Judgment in a Criminal Case(AO 245C) will be entered
after such determination. ,

C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36644), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* / Restitution Ordered Priority or Percentage

TOTALS $ 0 $ 0

[Restitution amount ordered pursuant to plea agreement $

(The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C, § 3612(f). All of the payment options on Sheet 6 may be subject
‘to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:

[J the interest requirement is waived forthe [ fine O restitution.

Ll the interest requirement forthe [] fine (C1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996. -
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AQ,245B° | (Rev, GRR Rad 07.4'00092-1 G-RHW Document 7 Filed 11/09/2007 Page 6of6

ni
Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6

DEFENDANT: Karl W. Stolze
CASENUMBER:  1:07er92LG-RHW-001

}

SCHEDULE OF PAYMENTS —

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A ™ Lumpsumpaymentof$ _ 100.00 due immediately, balance due

Oo not later than , Or
Ct imaccordance oc 4D, OT Eo [ Fbelow; or

B [Payment to begin immediately (may be combined with (C, O1D,or [1F below); or

Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

O

D [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
__. (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or .

~ [1 Payment during the term of supervised release will commence within {e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (CO Special instructions regarding the payment of criminal monetary penalties:

}
/

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made throug the Federal Bureau of Prisons”*Inmate Financial
Responsibility Program, are made to the clerk of the court. .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate. , :

[1 The defendant shall pay the cost of prosecution.

C

The defendant shall pay the following court cost(s):

[1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

}

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, ,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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, SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA ) y
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THOMAS PRESTON WILLS

PLEA AGREEMENT

Thomas Preston Wills, the Defendant, and his attorney, David C. Morrison, have been
notified that:

1. Defendants Obhlications

If the Defendant waives indictment and tenders a plea of guilty to a one count Criminal
Information to be filed in this case, charging him with the felony crime of Conspiracy to Deprive Raghis
Under Color of Law, in violation of 18 U.S C. § 241, and if he fully cooperates with federal and state
law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil Rights ~
Division and the United States Attorney for the Southern District of, Mississippi (“Government’ °)
and with the District Attorney for the Second Circuit Court District of Mississippi (“District
Attorney”), as set out in patagraphs 9 and 10.

2. Government's Obligations

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a) Thereafter, the Government will recommend that the Court: (ij) accept the
Defendant’s plea of guilty; and (ii) inform the United States Probation Office and the
Court of this Agreement, the nature and extent of Defendant's activities with respect
to this case and all other activities of Defendant which the Government deems
relevant to sentencing, including the nature and extent of Defendant's cooperation
with the Government. .

b) The Defendant has timely notified the Government of his intent to enter a plea of
guilty, If the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1 (a), ancl if the
Defendant’s offense level determined prior to the operation of U.S.5.G. § 3E1.1 (a) 1s
a level 16 or greater, the Government will move for an additional one-level decrease
in the guidelines in accordance with U.S.5,.G. § 3E1.1(b).

c) Should the Government determine that Defendant has provided substantial
assistance to law enforcement officials in an investigation or prosecution, and has
fully complied with the understandings specified in this Agreement, then the
government may submit a motion pursuant to United States Sentencing Guid cee
CUS SS.G.”) § 5K41.1 (and Title 18, United States Code, Section 3553(e),
applicals) e), requesting that the Coust sentence Defendant in light of the factors set

! foxth in ULS.S. G, § SKI (a)(1)- (5). T he determination as to whether Defendant has

provided such substantial assistance shall rest solely with the Government. Should

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any investigation in which Defendant offers information be incomplete a1 the ume
of his sentencing, the Government may, in lieu of a downward departure at
sentencing, move for a reduction in sentence pursuant to Rule 35 of the Fedexal
Rules of Criminal Procedure at such time as the cooperation is complete. It is
understood that, even if such a motion is filed, the sentence to be imposed on
Defendant remains within the sole discretion of the Court.

3, Count of Conviction

It is understood that, as of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desires to plead guilty to Count One of the Information.

4, Sentence

The Defendant understands that the penalty for the offense charged in Count One of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to ‘exceed ten (10) years; a tet of supervised release of mot less than three (3)
years; and a fine of up to $250, 00d. The Defendant further understands that a term of supervised
release will Ise imposed and that the term will be in addition to any prison sentence he receives;
further, if any of the terms of supervised release are violated, the Defendant can be returned to
prison for the entire term of supervised release, without credit for any time already served on the
term of supervised release prior to the Defendant’s violation of those conditions. It is further
understood that the Court may require the Defendant to pay restitution in this matter in accordance
with applicable law, The Defendant further understands that he is liable to make restitution for the
ful) amount of the loss determined by the Court to constitute relevant conduct, which is not limited
to the count of conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following ~
facts that establish his guilt beyond a teasonable doubt:

Thomas Preston Wills is a former Harrison County Sheriff's Department Corrections
Officer who worked the Haxtison County Adult Detention Center (“Jail”), Wills worked at the Jail
from a date unknown in November 2002, through on or about April 6, 2006.

While he was employed at the Jail and acting under color of law, Wills conspired with other
employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates at the
jail by willfully using excessive physical force against those inmates. The conspiracy began on a date
uncertain before November, 2002, and continued through at least April 6, 2006. During his time at
the Jail, Wills primarily served as a Booking Officer.

Wills and his co-conspirators engaged in a pattern of conduct that included, but was not
limited to, Wills and other officers str icing, punching, kicking, choking, and otherwise assaulung
INMALES, kn owing that the physical force was unnecessary, unreasonable, and unjustified.
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Case 1:085Gyc0 OPAL GsIMR wirosumentied 43 WQer ofd BnbeLbOUleQOR. agnias COL Wills
observed co-conspirators and other corrections officers participate in over one hundred additional
assaults against inmates at the Jail, Wills also heard co-conspirators and other corrections officers

buasting about their participation in willful and intentional uses of excessive force.

In addition, Wills conspired with other officers to conceal these instances of physica] abuse
of inmates. Wills, co-conspirators, and other corrections officers attempted to, and did, conceal

their abusive conduct by failing to document their excessive uses of force, and by giving false
statements and writing false, vague, and misleading reports.

Acts committed in furtherance of the conspiracy included the February 4, 2006, assault
committed by officers against Jessie Lee Williams, Jz. (“Williams”), an inmate who died after his
interaction with the officers. Wills was not on duty or present at the Jail during the Williams assault.

‘he information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulanon does
‘hot contain every fact known to the Defendant and to the Government concerning the Defendant's
and/or other’s involvement in the offense conduct and other matters.

6. Forfeitures

None.

7, This Plea Agreement does NOT Bind the Court

Tt is further understood that the Court, in accord with the principles of Rules 11(c)(1)(®) of
the Federal Rules of Ciiminal Procedure, is not required to accept the récommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided

by law, and the Government has no other obligation in regard to sentencing than as stated in
paragraph 2.

8. Determination of Sentencing Guidelines

lt is further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case, bur the Courl may
impose a sentence other than that indicated by the Guidelines if the Court finds that another
sentence would be more appsopriate. The Defendant acknowledges. that he is not relying upon
anyone’s calculation of a particular Guidelines range for the offense to which he is entering his plea,
and recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

9, Willineness to Cooperate

li is further understood and specifically acknowledged by the Defendant thar the
considexation for the action taken by the Government herein is the Defendant’s representation, by

execution of this Plea Agreement and otherwise, that the Defendant both can and will carsy oul the
terms and conditions contained herein.
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It is further understood that full cooperation referred to in paragraph 1 includes:

a) immediate and truthful disclosure of all matters involved in this charge to the
appropiate federal and state agents; .
I>) wuthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government,
c) truthful testimony at any tial involving any matter arising from these charges, in
federal or state cous;
dl) truthful testimony before any Grand Jury or at any trial in this or any other district

on any matter about which the Defendant has knowledge and which is deemed
pertinent to the Government;

e) full and truthful cooperation with the Government, with any law enforcement
agency designated by the Government, and/or the District Attorney’s office;
f) attendance at all meetings at which the U.S. Attorney or the District Attorney

requests his presence;
(¢) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, “and / or the District Attorney inquires of him; and

(hh) an obligation on the part of the Defendant to commit no further crimes whatsoever,
11... Limits on Purther Prosecution

lt is farther understood that the Government and the District Attorney will seek no further
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of
this Agreement, arising out of any event covered by the Information referenced in paragraph 1, if
the Defendant voluntatily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to
that matter, the Government and/or the District Attommey is free to seek prosecution of the
Defendant. This Plea Agreement does not provide any protection against prosecution for any
crimes except as set forth above.

12, Breach of this Acreement

lt is further understood that should the Defendant fail or refuse as to any part of this Plea
Agreement or commit any other crimes, the representations by the United States ox the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be
considered sufficient grounds for the pursuit of any prosecutions that the Government or the
District Atrormey has not sought asa result of this Plea Agreement, including any such prosecutions
that might have been dismissed ox otherwise barred by the Double Jeopardy Clause.

If the Defendant fails to fulfil] his obligations under this Plea Agreement, the United States
may seek release from any or all obligations undet this Plea Agreement. If the Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assext no claim under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11 (¢)(6) of
the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant's statements
pursaant to this Plea Agreement or any leads derived therefore, should be suppressed or are
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contested by the pasties, shall be determined by the Court in an appropriate proceeding at which the
Defendants disclosures and documentary evidence shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence,

13. Bindine Effect on this Federal District or Upon the District Attorney

I. is further understood that this Plea Agreement does not bind any other state or local
prosecuting authorities or any other federal district, except as otherwise provided herein; further,
this agreement cloes not bind the Attorney General of the United States in regard to any mattes, civil
or criminal, involving the tax statutes of the United States. -

14, Financial Obligations

lt is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and there pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to
the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof of
payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
aptees that it may be made payable first from any funds available to the Defendant while he ts
incarcerated, The Defendant undexstands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties are imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtor’s examination. If the Court
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a minimum schedule of payments and-not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments.

15. Further Crimes

Tt is further understood that should the Defendant commit any further crimes, this Plea
Agreement shall be deemed violated and he shall be subject to prosecution for any federal or state
criminal violation of which the Government has knowledge, and that any information provided by
hum may be used against him.

16. Waivers

The Defendant, knowing and understanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his sights to remain silent, to
a tial by jury, to subpoena witnesses on his own behalf, to confront any witnesses against bim, and
to appeal his conviction and sentence, in exchange for the xecommendations and concessions made

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by the Government or the District Attorney in this Plea Agreement, hereloy expressly waives the
above rights and the following:

17.

b.

The right to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, om any ground, provided the sentence does not exceed the
maximum sentence allowed by the statute; and

The right to contest the conviction and sentence or the manner in which the
sentence was imposed in any post-conviction proceeding, including but not limited
to a motion brought under T itle 28, United States Code, § 2255, “and any type of

proceeding claiming to double jeopardy Or excessive penalty as a result of any
forfeiture ordered or to be ordered in this case; and

Any sight to seek attorney’s fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations
ot undertaken in bad faith; and

All rights, whether asserted directly or through a sepresentative, to request or receive

any depar tment or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any secords
that may be sought by him or his representative under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at
Title 5, United States Code, § 5524

The Defendant further acknowledges and agrees that amy factual issues regarding his
sentencing will be resolved by the sentencing judge under a preponder ance of the
evidence standard, and the Defendant waives any sight to a jury determination of
these sentencing issues. The Defendant further agrees that, in making its sentencing
decision, the District Court may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial.

The Defendant waives these tights in exchange for the tecommendation and

concessions made by the Government and the District Attorney in this Plea
Agreement.

Future Contact with the Defendant

The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant during any petiod of incarceration, probation, and supervised
release, Furthes, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to
confirm in writing whether defense counsel will continue to represent the Defendant in this case and
in matters involving the collection of the financial obligations imposed by the Court. Uf the
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
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Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shall not be
deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the
Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

18. Complete Agreement

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It is further understood that this Plea Agreement completely reflects all ptromuses,
agreements, and conditions made by and among the Government, the District Attorney, and the
Defendant.

The Defendant and his Attorney declare that the terms of this Plea Agreement have been:

1. READ TO OR BY HIM;
2. EXPLAINED TO HIM BY HIS ATTORNEY;
3. UNDERSTOOD BY HIM;
4. VOLUNTARILY ACCEPTED BY HIM; and
5. AGREED TO AND ACCEPTED BY HIM.
WITNESS OUR SIGNATURES, as set forth below on December 8, 2006.
FOR THE GOVERNMENT: FOR THE DEFENDANT:
Js|Reae 6 Tf Hilda!
Dunn Lampton Thomas Preston Wills Date
United States Attorney Defendant

by: Jack Brooks Lacy, }r.
Assistant United States Attorney

Lisa M. Krigsuert Q Date David C. Morison, Psa. . Date
Special Hfigation Counsel Attorney for Defendant

Civil Rights Division, Criminal Section

AU io _h

Jobn Cotton Richmond Date
Trial Attorney
Civil Rights Division, Criminal Section

IMA (hp BME
Cono Caranna Date
District Attorney
Second Circuit Court District

